  Case 17-10242-JNP            Doc 61      Filed 02/01/18 Entered 02/01/18 08:47:31               Desc Main
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)

ISABEL C. BALBOA
CHAPTER 13 STANDING TRUSTEE
CHERRY TREE CORPORATE CENTER
535 ROUTE 38, SUITE 580
CHERRY HILL, NJ 08002




                                                                Case No.:            17-10242
                                                                                ___________________
In Re:
Ameen Sabree                                                    Chapter:                 13
                                                                                ___________________

                                                                Judge:                  JNP
                                                                                ___________________




                                NOTICE DEPOSITING UNCLAIMED FUNDS
                                   PURSUANT TO D.N.J. LBR 3011-1(a)
          Isabel C. Balboa
   _____________________________, trustee in the above captioned matter states that the entire amount in
   the trustee’s account has been disbursed and that the following funds remain unclaimed. The undersigned
                                                                          $39.28
   will immediately forward a check to the court in the amount of _____________________, payable to the
   Clerk, United States Bankruptcy Court. The parties entitled to said funds are listed below together with
   their last known address.


                                    PAYEE                                                AMOUNT
                               NAME AND ADDRESS

         Ameen Sabree
         1059 Lakeshore Drive
         Camden, NJ 08104                                                                  $39.28
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                         PAYEE                                    AMOUNT
                    NAME AND ADDRESS




      February 1, 2018
Date: _____________________                        /s/ Isabel C. Balboa
                                                  ______________________________
                                                  Trustee


                                                                            rev.8/1/15




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